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 5
 6
 7                   IN THE UNITED STATES DISTRICT COURT
 8                 FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10   UNITED STATES OF AMERICA,      ) No. 2:07-CR-0570 FCD
11                                  )
                     Plaintiff,     )
12                                  )
         v.                         ) SEALING ORDER
13                                  )
     LAHKVINDER SINGH,              )
14                                  )
                     Defendant.     )
15                                  )
                                    )
16
17      Upon Application of the United States of America and good

18   cause having been shown,

19     IT IS HEREBY ORDERED that the attached documents entered

20   herein and any associated material is hereby SEALED until further

21   order of this Court.

22
     DATED: September 19, 2011
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                                       FRANK C. DAMRELL, JR.
25                                     United States District Judge

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